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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-10-726
                                                  §
                                                  §
GILBERTO TORRALBA LOPEZ                           §
EDDIE LOPEZ                                       §

                                                ORDER

       Defendant Gilberto Lopez filed an unopposed motion for continuance, (Docket Entry No.

32). The court finds that the interests of justice are served by granting this continuance and that

those interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     April 4, 2011
       Responses are to be filed by:                   April 18, 2011
       Pretrial conference is reset to:                April 25, 2011, at 8:45 a.m.
       Jury trial and selection are reset to:          May 2, 2011, at 9:00 a.m.


               SIGNED on February 16, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
